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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

  UNITED STATES OF AMERICA,               PO-25-5011-GF-JTJ
                                          VIOLATION:
             Plaintiff,                   FATF002A
                                          Location Code: M9GF
       vs.
                                         ORDER
  HENRY K. FLATOW,

             Defendant.

      Based upon the United States’ motion to dismiss violation FATF002A and

for good cause shown,

      IT IS ORDERED that violation FATF002A is DISMISSED.

      IT IS FURTHER ORDERED that the bench trial scheduled for March 6,

2025, is VACATED.

      DATED this 27th day of February, 2025.
